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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                          GAINESVILLE DIVISION
IN RE:                                )        CHAPTER 11
                                      )
LAPRADE’S MARINA, LLC                 )        CASE NUMBER: 15-20697-JRS
                                      )
       Debtor.                        )
                                      )

   FIRST INTERIM APPLICATION OF LAURA L SAULS, CPA LLC FOR
       COMPENSATION AND REIMBURSEMENT OF EXPENSES

       Laura L Sauls, CPA LLC (“Applicant”) files its first interim application for

compensation for services during the Chapter 11 case and respectfully shows this

Court as follows:

                                          1.

       Applicant, as accountant for LaPrade’s Marina, LLC (“Debtor”), debtor-in-

possession herein, makes this first application for allowance of compensation in

the amount of $5,818.75 and for reimbursement of expenses in the amount of

$33.20, for the time period of April 16, 2015 through and including September 30,

2015

                                          2.

       On May 8, 2015, the Court entered an Order on Application to Employ

Accountant, authorizing the Debtor to employ Applicant to provide assistance with
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monthly accounting, preparation of monthly profit and loss statements, pay-roll,

pay-roll and sales tax filings, and the preparation of monthly operating reports.

This is Applicant’s first application for compensation. [Docket No. 36.] On June

3, 2014, the Court authorized the Debtor to also employ Applicant to prepare its

financial statements for year ending 2014 and additional monthly financial

statements as needed in connection with Debtor’s Chapter 11 bankruptcy case.

[Docket No. 45.]

                                           3.

          All services for which compensation is requested by Applicant were

performed for and on behalf of the Debtor and not on behalf of any other person or

entity.

                                           4.

          A copy of this Application has been submitted for approval by the Debtor

prior to submission to the Court.

                                           5.

          Applicant shows this Court that the billing rates for the services that are

sought are reasonable and in keeping with similar awards to similar professionals

performing accounting services in similar cases.




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                                         6.

      Applicant reconciled bank statements monthly and prepared Monthly

Operating Reports for April through August. Applicant processed the Debtor’s

biweekly payroll, prepared payroll journal entries, and handled payroll tax deposits

and quarterly payroll tax reports. Applicant prepared and submitted sales tax

reports and payments for each month. Applicant assisted with various reports

requested by counsel or the bankruptcy court. A detailed breakdown of the time

for which compensation is sought is attached hereto as Exhibit “A”. The expense

for which Applicant seeks to be reimbursed is for checks purchased for Debtor’s

tax and insurance escrow account.

                                         7.

      Applicant’s principal, Laura L. Sauls, has broad expertise and skills in the

areas in which she rendered services. Applicant’s familiarity with the Debtor’s

business enabled her to perform her work more efficiently than other professionals.

      Applicant seeks compensation for services rendered at its standard hourly

rates. No premium or bonuses are being sought. Applicant was not paid a retainer

and no prior requests for payment of fees have been made or approved. Applicant

shows this Court that its fee application is reasonable in light of the awards in

similar cases. Accordingly, the Court should approve the compensation requested


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by Applicant in the amount of $5,818.75 and expenses of $33.20 as reasonable and

necessary in this case.

           WHEREFORE, Applicant prays that an allowance be made to it in the sum

of $5,818.75 for professional services rendered in this proceeding and for

reimbursement of expenses in the amount of $33.20 for the time period of April

16, 2015 through and including September 30, 2015, and that the Debtor be

authorized to pay the amounts awarded.

           This 8th day of October, 2015.


                                                                 /s/ John A. Christy
                                                                 John A. Christy
                                                                 Georgia Bar No. 125518
                                                                 jchristy@swfllp.com
                                                                 J. Carole Thompson Hord
                                                                 Georgia Bar No. 291473
                                                                 chord@swfllp.com
                                                                 Jonathan A. Akins
                                                                 Georgia Bar No. 472453
                                                                 jakins@swfllp.com

                                                                 Attorneys for the Debtor

Schreeder, Wheeler & Flint
1100 Peachtree Street, N.E.
Suite 800
Atlanta, Georgia 30309-4516
(404) 681-3450
K:\9191\1\pleadings\fee application accountant first.docx




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                                 EXHIBIT “A”
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                Laura L Sauls CPA LLC                                                                  lnvoice
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Laura L Sauls, CPA
Client Time Sheet

Client      LaPrades Marina
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    Date                                                                                                  Start   ïme              End Time      Total

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     Clarkesville, GA 30523




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Quantìty                                       Description                            Rate                Amount

       39.5 Accounting Scrvices for May 2015                                                  35,00                 t,382.50




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Laura L Sauls, CPA
Client Time Sheet

Client                 laPrades Marina
                       5ltl20t5- 5/3v¿015


    Date                                                                                                                                           Start Time             End Time      Total

          5l6l2tt5     .P    Re¡onciled Bank Stat¿ments & Pr€ûared Pavroll and Ðeferred Revenue Joumal Entn?s fo¡ April                                       ltsú             18tr             5:30         5-50

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         slßlzoLs            Entered Prel¡mtnarv Ðatå ¡n1o Anr¡l OÞÉrätinÉ ReFort, Processed 5É5 Payroll, Prepared Peyroll   JE                              13:15             a7:A             4:15         4.25
         sÌ14l7Aß      L.P   Workêd w¡th Petêr at th€ Mår¡na to prov¡de Documents Reque*€d by theÃttorney                                                    1145              I8:30            5:4S         5.7s
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                                                                                            Reviewèd                                                          12:0C            17110            5:ff1        5.00
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                Laura L Sauls CPA LLC                                                                 lnvoice
                P CI Box 1066                                                                Date         lnvoice #
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      45.25 Accounting Scrviccs for June 2015                                                 35.00              1,583.75




                                                                                Total                           $ 1,583.75
                                         Case 15-20697-jrs                    Doc 74          Filed 10/08/15 Entered 10/08/15 15:40:00                                  Desc Main
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Laura L Sauls, CPA
Client Time Sheet

Client               LaPrades Marina
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    Date                                                                                                                                              Start Time             End Time        Total

          61212015 LP     üork€d with Peter to ñ¡ke 2014 veârend adiustmenE to balance sheet & assisted with esh ffow enaf'¡sis for 2014.                       1?:3€               19:00            6:31)        650
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     61[AftOß        LP   r¡/ork€d with Robin to corrcct Maì, Z4th credrt cerd outeee :nd beæn Mav bânk feconc¡lletlons.                                        L2:45               19:15            6:30         6.5O
         6lL2lZ9tS        Submiüed Dâvroll lâx deDos¡ts, èntered 1 lew emolovee. o¡ocessed oavroll. & o¡eoared oevroll íournal eûtft-es.                            B:!10           10;45            2:15         z.?5
     6112lZO1S tP         ComDleted bank Bccount recon€il¡âtíôns end beqan satherin¡ data forthe MOR :eoorl due.lø¡e 20th.                                      12:30               18:00            5:3Ð         5J0
     6115l20ts       LP   Worked atthe nnr¡nã to finish ¡¡åtherìnr documents and dete¡l for the MOR r€ûort.                                                     12:30               18:00            5:30         5-50
     6,¿16l?015           Created soreadsheetto fac¡titatp the celculations on MOR-z end lnout data into MOR.z soreadsheet for M¡v.                             12;30               77:45            5:15         s.2s
     6/!7¡2AL3            CómDletèd thê ¡ñifhl draft ofthe Mav MOR report. Reviewed. footed, and c¡oss Çhe(ked atl ofthe data in the reoort                     13:15               17:30            4:15         4.25
     6lLA/701S       lf   Worked with PÈte¡ et the maine to prepare budßet cómparison ând othet iûformatlon requested bvthe court.                              12:45               18:15            5:30         550
     61191701s            Calculated, fileô ard submilt€d seles tåx pawne¡rt for May. Completed ãnd flled MOR report for May.                                   11:30               13:15            1:{5         1.75
         6123l20LS        Entel€d 3 new eñÊbvees. prÒcessed and rærÌfied 6126 oawoll, and prepared pawollioumal entries.                                        12:45               1,4:30           1:45         1.75




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Quantity                                          Oescrlption                            Rate              Amount

           25 Accounting Scrviæs fbr July 201 5                                                  35,00                875.00




                                                                                  Total                             $875.00
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Laura    L   Sauls, CPA
Client Time Sheet

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    Date                                                                                                                                           Start Time             End Time      Total

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     717212D15 LP       G¡thered documents ãnd detãtl needed to prepere the June MOR report due July z{¡th                                                    15:00            17¡(þ            2:00      2.m
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     lr7l20r5           lnDut data ¡nto the MOR report.                                                                                                       1O:00            11:45            1:45      r.75
     "llL7lZOtí         Revlewed. footed, and crosschecked dâta in the MOR reÞort. Prlrt€d flnâl reÞôrt and suÞÞortins excÊl schedules.                       12:45            14:ffi           1:15      1.2S
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                        ìournâl entries as uell as assisted employees with accomodations f¿x and other accûunting bsüeç.                                                                        0:(Ð
     lru2aß              Submrtted June MOR report prepâred and flled 2nd quarter pavroll tax reports.                                                        13:flO           15:45            2:45      z.7s
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Laura L Sauls, CPA
Client Time Sheet

Client                LaPrades Marina
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              BankAccount




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Laura     L   Sauls, CPA
Client Time Sheet

Client               LaPrades Marina
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         9/191201s        csmoktêd MoR-2 workheel- ¡nout dáta ¡ntr MOR Rèoûrl- æv¡êwed . footcd- ând (r6s dÉck€d data-                                                      1}Cn              16:Ot             3:BO       3.00
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         9{23.nOL5        Prêrared MTD & YTD bud€et comoarlson reûort in erel MOR fDrmat.                                                                                    14:m             7,6t]l5           2:¡15      z7s




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                            CERTIFICATE OF SERVICE

      This is to certify that I have served a copy of the within and foregoing

FIRST     APPLICATION          OF      LAURA    L    SAULS,      CPA      LLC    FOR

COMPENSATION and AFFIDAVIT OF LAURA L. SAULS through the

electronic case filing system (ECF) or by placing a copy of the same in the United

States Mail, with sufficient postage thereon to ensure delivery upon the parties listed

on the service list attached hereto.

      This 8th day of October, 2015.

                                               /s/ Jonathan A. Akins
                                               Jonathan A. Akins


SCHREEDER, WHEELER & FLINT, LLP
1100 Peachtree Street, N.E.
Suite 800
Atlanta, Georgia 30309-4516
404-681-3450
Case 15-20697-jrs   Doc 74   Filed 10/08/15 Entered 10/08/15 15:40:00   Desc Main
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                                 SERVICE LIST

James H. Morawetz
Office of the U.S. Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303

David W. Cranshaw – via ECF
Morris, Manning & Martin, LLP
3343 Peachtree Road, NE
1600 Atlanta Financial Center
Atlanta, Georgia 30326

Melissa Perignat – Via ECF
Derek Krebs – Via ECF
Holt Ney Zatcoff & Wasserman, LLP
100 Galleria Parkway, Suite 1800
Atlanta, GA 30339

Estate of Henry Hirsch
c/o William L. Rothschild, Esq.
Ogier, Rothschild & Rosenfeld, P.C.
170 Mitchell Street, SW
Atlanta, GA 30303-3424

Georgia Power Company
c/o Walter E. Jones, Esq.
Balch & Bingham, LLC
30 Ivan Alan Jr. Boulevard, NW
Suite 700
Atlanta, GA 30308




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